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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLORADO

                                       CASE NO. 1: 18-cv-02351-KLM

    FARMLAND PARTNERS, INC.,

                    Plaintiff,

    v.

    ROTA FORTUNAE (WHOSE TRUE NAME IS UNKNOWN), JOHN/JANE
    DOES 2-10 (WHOSE TRUE NAMES ARE UNKNOWN),

                    Defendants.


             ROT A FORTUNAE'S SUPPLEMENT TO HIS DISCOVERY RESPONSES


            Per the Court's Order (Doc. No. 69). Defendant Rota Fortunac C'RF'') hereby submits the

    following Supplement to his interrogatory responses.

                    PRELIMINARY STATEMENT AND GENERAL OBJECTIONS

            In the Court's March 5, 2019 Minute Order, the Cout1 ordered RF to nsuppJement his

    interrogatory responses with respect to the company previously identified[.]" RF therefore

    supplements as follows. In so supplementing, RF make the following objections:

            I.      In supplementing his interrogatory responses, RF explicitly does not concede that the

    inteaTogatories seek information that is relevant to the question of whether the Court has subject

    matter jurisdiction over this matter. To the contrary., the information sought by the interrogutories has

    no bearing on the jurisdictional analysis.

            2.      In supplementing his inten·ogatory responses, RF explicitly reserves and does not

    waive any arguments that discovery is stayed and/or improper under the Texas Citizens Participation


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                                                                                                                EXHIBIT A
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    Act. RF's supplemental response is made expressly subject to and without waiving or intending to

    waive any objection as to the competency, relevancy, or admissibility of any of the responses given

    herein.

              3.    No incidental or implied admissions are intended by any statement herein. RF

    supplements his interrogatory responses based on his understanding and reasonable interpretation of

    the interrogatories.

              4.    In supplementing his interrogatory responses, RF expressly docs not waive his First

    Amendment rights, including his First Amendment right to anonymity. RF's responses are made

    expressly subject to and without waiving or intending to waive any of his First Amendment rights,

    and he provides the information because of the threat of contempt.

              5.    RF further objects that Plaintiff Farmland Partners, lnc. has not properly sought, nor

    has the Court addressed, the requisite standard for permitting any discovery while the motion (or any

    appeal of it) is pending, i.e., that the party seeking discovery show good cause for a request for

    specific and limited discovery relevant only to the dismissal motion.

                                      SUPPLEMENT TO RESPONSES

              INTERROGATORY NO.4: Identify all Persons who have provided to You, or received from

    You, any direct or indirect benefits Relating to Your role in researching, drafting, or disseminating the

    Seeking Alpha Article, including paying attorney fees, and describe the benefit provided or received.

              SUPPLEMENTED RESPONSE: RF incorporates his general objections above. RF also

    incorporates his specific objections, made in his initial interrogatory 1-esponses (Doc. No. 55-I), as

    well as his initial interrogatory responses, as though restated herein.




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            Subject to and without waiving the foregoing objections, RF supplements his response a~

    follows:

            The Company (identified in RF's interrogatory responses at Doc. No. 5S-l) is a Texas Limited
    Partnership. The Company is comprised of one (I) general partner and 7.ero (0) limited partners. The
    general partner is a Texas limited liability company whose only member is Person B (as identified in
    RF's interrogatory responses) who is resides in Texas and is a Texas citizen.

             Under common federal law, for purposes of detennining diversity under the federal diversity
    statute, 28 U.S.C. § 1332(a), a limited partnership, as an unincorporated association, is not in its
    own right a "citizen', of the State that created it. Carden v. Arkoma Associates, 494 U.S. 185
    ( 1990). A federal court must alook to the citizenship of a partnership's limited, as well as its
    general, partners to determine whether there is complete diversity." /d. Likewise, because a limited
    liability company is an unincorporntcd association, "in detennining the citizenship of an
    unincorporated association for purposes ofdiversity, federal courts must include all the entities'
    members." Siloam Springs Hotel. L.L.C. v. Century Sur. Co .., 781 F.3d 1233, 1237-38 (10th Cir.
    2015); Harvey v. Grey VlolfDri/ling Co., 542 F.3d 1077, 1080 (5th Cir. 2008) (''[T]he citizenship
    of a LLC is determined by the citizenship of all ofits members.'').




                                                 I declare, under penalty of perjury under the laws of
                                                 the United States of America, that the foregoing
                                                 an       to i           ·




                                                                            aka Rota Fortunae



    Respectfully submitted as to the objections and caselaw this 19th day of March. 2019.

                                                 Is! John A. Chanin
                                                 John A. Chanin
                                                 Katherine Roush
                                                 Melanie Mac Williams-Brooks
                                                 FOSTER GRAHAM MILSTEIN & CALISHf.R,   LLP

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                                  CERTIFICATE OF SERVICE

 I hereby certify that on this 191h Day of March, I electronically filed the foregoing document with
 the Clerk of the Court using the ECF system, and served via ECF to the following:

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